EXHIBIT 19
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                             Case No. 1:25-CV-10910-ADB

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.

                        Defendants.



                               Declaration of Meredith Rosenthal

I, Meredith Rosenthal, declare as follows:

       1.      I am the C. Boyden Gray Professor of Health Economics and Policy in the Depart-

ment of Health Policy and Management at the Harvard T.H. Chan School of Public Health. As of

May 1, 2025, I am also serving as the interim chair of my department. I previously served as the

Associate Dean for Diversity and then Senior Associate Dean for Academic Affairs at the Harvard

School of Public Health for a total of 5 years, overseeing the Office of Diversity and Inclusion in

both of these roles. I joined the Harvard University faculty in 1998.

       2.      I earned my B.A. in International Relations from Brown University in 1990 and my

PhD in Health Policy from Harvard University in 1998.

       3.      My research focuses on policies to improve affordability, equity, and access to

healthcare in the United States. This includes the design and impact of market-based health policy

mechanisms, with a particular focus on the use of financial incentives to alter consumer and
provider behavior. I have advised federal and state policymakers in healthcare payment policy and

its implementation.

       4.      My work has been published in the New England Journal of Medicine, the Journal

of the American Medical Association, Health Affairs, and numerous other peer-reviewed journals.

In 2014, I was elected to the National Academy of Medicine. I also serve on advisory boards for

the Peterson Center on Health Care, the Source on Health Care Price and Competition, and the

Harvard LGBTQ Health Center of Excellence.

       5.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP – Harvard Faculty Chapter.

       6.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       7.      I am aware that the current administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that a letter was sent by officials from

the Trump administration to Harvard on April 3, 2025, including a long list of demands and nec-

essary reforms (the “April 3 Letter”). I am aware that this was followed by a subsequent letter

from Trump administration officials on April 11, 2025 with more detailed demands that “incorpo-

rates and supersedes the terms” of the April 3 Letter and serves “as the basis for an agreement in

principle that will maintain Harvard’s financial relationship with the federal government” (the

“April 11 Letter,” and together with the April 3 Letter, the “Demand Letters”). The Demand Let-

ters were made public, and I have read the demands listed in the Demand Letters. I am aware that,




                                                 2
on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism froze over $2.2 billion in federal

grants to Harvard. I understand that the federal government has since refused to disburse funds

obligated to these grants despite receiving requests from Harvard University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek grants from the federal government, since none will

be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”) terminated

Harvard’s grants. I am aware that on May 9, 2025, the Department of Agriculture terminated Har-

vard’s grants. I am aware that on May 12, 2025, the Department of Energy, Department of Defense,

the National Science Foundation, and the Department of Housing and Urban Development termi-

nated Harvard’s grants. I am also aware that the DOJ Task Force to Combat Anti-Semitism ex-

pressly cited antisemitism allegations and race discrimination as the reason for the Trump admin-

istration’s termination of approximately $450 million in grants to Harvard. Letters regarding each

of these terminations were made public, and I have read each of them.

       9.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of the university and

making a variety of threats about ways the federal government intends to use its authority to im-

pose a moving target list of demands on Harvard.

       10.     I am aware of the cancellation of $400 million in federal grants and contracts to

Columbia University and the changes Columbia agreed to implement as a result of these funding

cuts and other Trump administration demands. Colleagues in my department and I have been fol-

lowing what has been going on at Columbia and there has been a lot of discussion, fear, and un-

certainty. I am also aware that even though Columbia capitulated to the Trump administration’s

demands, Columbia’s federal funding has not been restored.




                                                3
       11.     It is my understanding that Harvard preemptively took a series of actions in antici-

pation of similar threats to cancel its federal funding and in response to threats made by the Trump

administration targeted at Harvard beginning in early 2025. Harvard implemented a blanket hiring

freeze across campus in anticipation of the administration’s actions, which extended into research

assistant positions funded by federal grants.

       12.     After the university received notice that the Trump administration terminated all

federal funding on May 14, it pledged $250 million across the university in one-time stopgap fund-

ing to replace some of the more than $2 billion in terminated funds. That amount is far from suf-

ficient to replace the terminated funds for the Harvard School of Public Health, which typically

receives around $200 million in federal funding annually across its departments, and the cancelled

grants included many multi-year commitments.

Research Funding

       13.     Approximately sixty percent of my salary comes from research grants, including

those funded by NIH and the Agency for Healthcare Research and Quality within the Department

of Health and Human Services. Harvard pays a portion of my salary for my non-research work,

including teaching students and serving as interim department chair, but federal funding has pro-

vided critical support for my work over the course of my career.

       14.     I am, for example, the co-investigator on a research grant from the National Insti-

tute on Minority Health and Health Disparities program at NIH with a fellow Harvard colleague.

The grant, titled “Evaluating an Intervention to Improve Medication Access and Quality of Care

for Underserved Populations with Chronic Conditions,” funds research to improve health out-

comes and eliminate health disparities. More specifically, we are studying how a tool designed to

help physicians offer their patients lower cost medication alternatives can help reduce out-of-




                                                 4
pocket costs and increase medication adherence among people with chronic conditions. One aim

of the research is to understand whether the tool differentially benefits patients based on their

socioeconomic status and geographic location.

       15.     The grant provides almost $2.5 million in federal funding over 3.5 years. We had

one more year left on our funding term when the grant was cancelled on May 15, 2025. Grant

funding provided salary support for four faculty at Harvard (including myself), two research as-

sistants, a PhD student, and collaborators at two other institutions.

       16.     As discussed above, Harvard has instituted a hiring freeze in anticipation of threats

by the Trump administration. The freeze has meant that several staff positions in our department

remain unfilled and our administrative staff are stretched thin. Several faculty searches that I was

involved with were cancelled just as we were identifying finalists for these positions. Moreover,

as department chair I am now working with my colleagues to help them forecast the impact of

grant terminations on their ability to cover the salaries of their research teams. Almost surely, my

colleagues will be in the terrible position of having to let go members of their research staff whose

work was funded by federal grants. It has also become much harder to find funding for our PhD

students, many of whose stipends were paid by federal training and research grants.

       17.     The loss of NIH funding is devastating for our research. Without federal funding,

we will have to stop our studies entirely while we look for other resources. It will be almost im-

possible to raise private, foundation funding to finish all the research previously funded by the

federal government because there are so few funding sources for large, data-heavy projects. Con-

sequently, we will fall short of illuminating the questions we have spent many resources trying to

answer. For example, one of my junior colleagues has been working to better understand the im-

pact of new Medicare payment models on patients with health and social programs that make them




                                                  5
particularly vulnerable to changes in access to care. The cancellation of his funding leaves him

unable to complete this timely research, which is needed to inform Medicare policy. I am particu-

larly fearful that the funding lapse may be career-ending, particularly for our PhD students and my

non-tenured junior colleagues. Without federal funding, my colleagues who are coming up for

tenure may not be competitive applicants for that crucial promotion. Federal grants impact tenure

decisions beyond just the dollars themselves—tenure candidates must demonstrate that they have

served as principal investigators on federal research grants and are capable of performing the sort

of rigorous research that federal grant study sections (peer reviewers) approve for scarce federal

dollars.

           18.   It feels futile to apply for additional NIH funding while the Trump administration

continues to wage a war against academic and research freedom. I understand that the administra-

tion has actively discouraged Harvard researchers from submitted grants; few of my colleagues

are continuing to apply for federal funding.

           19.   A loss of federal funds would also make collaboration across institutions much

more challenging. Ambitious, federally-funded programs, like many I am involved with, allow

multiple faculty members from different disciplines to work closely together and produce more

robust research. Those opportunities for academic discourse and innovation would vanish, even if

we were able to secure smaller, private funding sources.

           20.   The funding freeze and subsequent grant cancellation at Harvard is not the only

threat to my research collaborations. One of my collaborators is a professor at Northwestern Uni-

versity and I am told their funding is also frozen, so the possibility of obtaining funding through a

subcontract with that university is no longer viable. Moreover, this week some of our collaborators

at Harvard’s teaching hospitals (which are not owned by Harvard) have been advised by their




                                                 6
leadership that they should avoid subcontracting to Harvard affiliates lest their grants be tainted

by association.

Impact on Speech and Academic Freedom

       21.        I firmly believe that equity is an essential value in health policy. I have dedicated

my career to improving health and affordability for everyone, both through my research and by

overseeing the school’s Office of Diversity and Inclusion (from 2013-2018) to improve diversity,

equity, and inclusion of those who work in the industry and on our campus. I worry that the Trump

administration will label my focus on equitable access to healthcare as an “ideologically captured”

DEI program and demand that the school “shutter” the program, particularly because of my former

diversity-related administrative role, but because of the vagueness of the Demand Letters, I cannot

be sure.

       22.        As a PhD advisor and senior leader in our doctoral program, I interact with Har-

vard’s health policy doctoral students on a daily basis. I have had heartbreaking conversations with

my graduate students about the risks associated with pursuing questions and topics related to topics

that the Trump administration may label as “DEI” or contrary to its policy agenda due to fear that

it will inhibit their ability to receive federal grants and find an academic job. As noted above,

receiving federal grants is not just about the funds themselves—it is a key indication that your

peers recognize the rigor and caliber of your work because federal grant applications are always

peer-reviewed. This is already having an immediate effect on the questions that Harvard’s bright-

est minds are choosing to examine and discuss and sends a powerful message to our students about

the priorities of the administration.

       23.        I have been anticipating the loss of federal funds and its wide-reaching ramifica-

tions, including the potential impact of demands the Trump administration may issue to avoid the




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loss of funds, since January. Those fears spiked when the Trump administration began calling out

Harvard explicitly, and have only compounded since Harvard received the Demand Letters.

       24.     That fear was felt across campus. During our most recent admissions cycle, it forced

our school to confront painful new realities about our financial capacity for accepting new students.

During this recent admissions season, which concluded at the end of March 2025, many of the

PhD programs in the Harvard T.H. Chan School of Public Health admitted fewer students, and our

Global Health program, which usually accepts 5-6 new students, accepted no new students at all.

With the vulnerable state of our federal funding, many programs determined they needed to con-

tract in size in order to meet existing commitments to current PhD students without federal funds.

       25.     I am scared to submit this testimony and identify myself publicly. However, I feel

strongly about both the importance of my work for public health and about protecting academic

freedom. As a tenured faculty member and respected academic in my field, I feel a particular

responsibility to speak out from my place of relative security in defense of the students and junior

professors at Harvard who are unable to speak so publicly for fear of retaliation against themselves

or their loved ones.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: June 2, 2025                   Signed:

                                      Meredith B. Rosenthal, PhD.
                                      C. Boyden Gray Professor of Health Economics and Policy
                                      Chair, Department of Health Policy and Management




                                                 8
